Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 1 of 37 PageID# 9217



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 BMG RIGHTS MANAGEMENT                 )
 (US) LLC, and ROUND HILL              )
 MUSIC LP                              )
                                       )
             Plaintiffs,               )
                                       )
       v.                              )    Case No. 1:14-cv-1611 (LOG/JFA)
                                       )
 COX COMMUNICATIONS, INC. and          )
 COXCOM, LLC                           )
                                       )
             Defendants.               )
                                       )




               [REDACTED] MEMORANDUM IN SUPPORT OF
      BMG RIGHTS MANAGEMENT (US) LLC AND ROUND HILL MUSIC LP’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT




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Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 2 of 37 PageID# 9218



                                                     TABLE OF CONTENTS

 INTRODUCTION ...........................................................................................................................1
 UNDISPUTED MATERIAL FACTS .............................................................................................2
           A.         BMG and Round Hill Own Copyrights in the Musical Compositions at
                      Issue .........................................................................................................................2
           B.         BMG and Round Hill Seek to Reduce Theft of their Intellectual Property .............5
           C.         Cox’s Handling of Notifications of Copyright Infringement ..................................5
           D.         Cox’s Graduated Response Policy ...........................................................................8
           E.         Cox’s Policy from 2010 to Fall 2012 .....................................................................10
           F.         Cox’s Policy from Fall 2012 to Present .................................................................12
 LEGAL STANDARD ....................................................................................................................16
 ARGUMENT .................................................................................................................................17
 I.        PLAINTIFFS OWN THE COPYRIGHTS AT ISSUE .....................................................17
           A.         Copyright Registrations Naming BMG or its Predecessors as Claimants
                      Establish Ownership of the Copyrighted Works ...................................................17
           B.         Plaintiffs’ Evidence of Chain of Title from a Copyright Claimaint
                      Establishes Ownership as a Matter of Law ............................................................18
           C.         Cox Lacks Standing to Contest Ownership ...........................................................20
 II.       COX IS NOT ENTITLED TO “SAFE HARBOR” PROTECTION UNDER THE
           DMCA................................................................................................................................21
           A.         Cox Cannot Take Advantage of the DMCA Safe Harbor Because It
                      Refuses to Accept or Act on Notifications of Copyright Infringement .................23
           B.         Cox Cannot Take Advantage of the DMCA Safe Harbor Because its
                      Policy and Practice Is Not to Terminate Repeat Infringers....................................25
                      1.         Cox “Terminations” Were Not “For Real” Until the Fall of 2012 ............25
                      2.         Cox Has Not Established or Implemented a Policy to Terminate
                                 Repeat Infringers in Appropriate Circumstances Since Fall 2012.............26
           C.         Cox Cannot Take Advantage of the DMCA Safe Harbor Because it Has
                      Failed to Terminate Known, Flagrant Repeat Copyright Infringers ......................29
 CONCLUSION ..............................................................................................................................30
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 3 of 37 PageID# 9219



                                                TABLE OF AUTHORITIES

 Cases                                                                                                                         Page(s)

 ALS Scan v. RemarQ Communities,
    239 F.3d 619 (4th Cir. 2001) ...................................................................................................30

 Anderson v. Liberty Lobby,
    477 U.S. 242 (1986) .................................................................................................................16

 Arista Records v. Lime Group,
     No. 06 CV 5936, 2011 WL 1641978 (S.D.N.Y. Apr. 29, 2011) .............................................20

 Billy-Bob Teeth v. Novelty,
     329 F.3d 586 (7th Cir. 2003) .............................................................................................20, 21

 Capital Concepts v. The Mountain Corp.,
    No. 3:11-cv-0036, 2012 U.S. Dist. LEXIS 182874 (W.D. Va. Dec. 30, 2012).......................21

 Capitol Records v. Escape Media Group,
    No. 12-CV-6646 AJN, 2015 WL 1402049 (S.D.N.Y. Mar. 25, 2015) ....................................26

 Columbia Picture Industries v. Fung,
    710 F.3d 1020 (2d Cir. 2013)...................................................................................................22

 Disney Enterprises v. Hotfile Corp.,
    No. 11-20427-CIV, 2013 WL 6336286 (S.D. Fla. Sept. 20, 2013) .......................23, 24, 25, 28

 Eden Toys v. Florelee Undergarment Co.,
    697 F.2d 27 (2d Cir.1982)........................................................................................................21

 Ellison v. Robertson,
     357 F.3d 1072 (9th Cir. 2004) ...........................................................................................23, 24

 In re Aimster Copyright Litigation,
     252 F. Supp. 2d 634 (N.D. Ill. 2002), aff’d, 334 F.3d 643 (7th Cir. 2003) .............................27

 In re Charter Communications,
     393 F. 3d 771 (8th Cir. 2005) ..................................................................................................30

 MOB Music Publishing. v. Zanzibar on the Waterfront,
   698 F. Supp. 2d 197 (D.D.C. 2010) .........................................................................................17

 Montgomery County Association of Realtors v. Realty Photo Master,
   878 F. Supp. 804 (D. Md. 1995) ..............................................................................................19

 Perfect 10 v. CCBill,
    488 F.3d 1102 (9th Cir. 2007) .....................................................................................21, 22, 29



                                                                  - ii -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 4 of 37 PageID# 9220



 Perfect 10 v. Cybernet Ventures,
    213 F. Supp. 2d 1146 (C.D. Cal. 2002) ...................................................................................29

 Rosen v. Global Net Access,
    No. CV 10-2721, 2014 WL 2803752 (C.D. Cal. June 20, 2014) ............................................28

 SCO Group v. Novell,
   578 F. 3d 1201 (2d Cir. 2009)..................................................................................................20

 Tacori Enterprises v. Rego Manufacturing,
    No. 1:05CV2241, 2008 WL 4426343 (N.D. Ohio Sept. 25, 2008) .........................................20

 Thomas v. Artino,
    723 F. Supp. 2d 822 (D. Md. 2010) .........................................................................................18

 Universal Furniture International v. Collozione Europa USA,
    618 F.3d 417 (4th Cir. 2010) .............................................................................................17, 18

 Warner/Chappell Music, Inc. v. Blue Moon Ventures,
   2011 WL 662691 (M.D. Tenn. Feb. 14, 2011) ........................................................................20

 X-It Products v. Kidde Portable Equipment,
     155 F. Supp. 2d 577 (E.D. Va. 2001) ..........................................................................17, 18, 21

 STATUTES

 Digital Millennium Copyright Act (DMCA), 17 U.S.C. § 512 ............................................. passim

 17 U.S.C. § 101 ..............................................................................................................................19

 17 U.S.C. § 106 ..................................................................................................................18, 19, 20

 17 U.S.C. § 201 ..............................................................................................................................17

 17 U.S.C. § 201(d) ...................................................................................................................18, 19

 17 U.S.C. § 201(d)(2) ....................................................................................................................20

 17 U.S.C. § 410(c) .........................................................................................................................17

 17 U.S.C. § 501(b) .........................................................................................................................17

 17 U.S.C. § 512(i) ..........................................................................................................1, 21, 25, 26

 17 U.S.C. § 512(i)(1)(A) ..........................................................................................................21, 25

 LEGISLATIVE MATERIALS

 H.R. Rep. 105-551(II) ....................................................................................................................22


                                                                     - iii -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 5 of 37 PageID# 9221



 S. Rep. 105-190........................................................................................................................22, 30

 RULES

 Fed. R. Civ. P. 56 ...........................................................................................................................16

 BOOKS AND ARTICLES

 4 Nimmer on Copyright § 13.01[A] (2015) ...................................................................................20

 3 Nimmer on Copyright § 13.01[A] (1993) ...................................................................................19




                                                                     - iv -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 6 of 37 PageID# 9222



                                          INTRODUCTION

        Plaintiffs BMG Rights Management (US), LLC, (“BMG”) and Round Hill Music, LP,

 (“Round Hill”) move for partial summary judgment that they own or have exclusive rights to the

 works at issue and that Defendants Cox Communications, Inc., and CoxCom, LLC, (together

 “Cox”) do not meet the requirements of “safe harbor” protection from liability for copyright

 infringement under the Digital Millennium Copyright Act (DMCA), 17 U.S.C. § 512.

        Plaintiffs have submitted certified copies of copyright registrations identifying BMG or

 its predecessors as owners of 1034 of the 1,422 musical compositions at issue in this motion.

 Those registrations are prima facie evidence of ownership and, because Cox has no contrary

 evidence, establish ownership as a matter of law. For the remaining 388 works, Plaintiffs have

 supplied copyright registrations and agreements reflecting the transfer of ownership from the

 copyright registrants to BMG and Round Hill, along with declarations attesting to the chain of

 title under those agreements. Cox has neither evidence to rebut this showing nor standing to

 challenge the assignment of the copyrights to Plaintiffs. Accordingly, summary judgment should

 be granted regarding ownership of the works at issue.

        Summary judgment should also be granted on Cox’s DMCA “safe harbor” defense. To

 benefit from the limitations on liability found in the DMCA, a service provider bears the burden

 to show that it “adopted and reasonably implemented . . . a policy that provides for the

 termination in appropriate circumstances of . . . repeat infringers” who use the network to steal

 intellectual property. 17 U.S.C. § 512(i). Yet, the undisputed evidence shows that Cox’s policy

 is not to terminate repeat infringers.

        For several years, Cox had an “under the table” policy of purporting to terminate repeat

 infringers while actually retaining them as high speed internet customers. The “terminations”

 were in name only as Cox immediately reactivated these infringers without ever cancelling their
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 7 of 37 PageID# 9223



 accounts. Cox personnel explained that these

                                                                Statement of Undisputed Material

 Facts (“SUMF”) 40-41. As a matter of law, Cox’s fake “terminations” do not satisfy the DMCA.

        Later, Cox modified its policy so that

                                            SUMF 50. At the same time, however, Cox

 terminating customers for copyright violations in all but a small handful of cases, most of which

 also



                                                                                     As a matter of

 law, allowing known, repeat, flagrant infringers to continue to use the network does not satisfy

 the DMCA’s requirement of an appropriate repeat infringer termination policy.

        Cox also put in place a system to                        millions of copyright

 infringement notices without taking any action against the infringing subscriber – a practice that

 itself places Cox outside the DMCA safe harbor. Asked whether it was proper to impose such

 limits on DMCA notices, the Cox manager responsible for policing copyright infringement and

 other forms of subscriber abuse responded:                    SUMF 23. Cox’s

 approach to copyright infringement precludes Cox from enjoying a DMCA safe harbor defense.

                              UNDISPUTED MATERIAL FACTS

        A.      BMG and Round Hill Own Copyrights in the Musical Compositions at Issue

        1.      Plaintiffs BMG and Round Hill own, publish, administer, and license copyrights

 in musical compositions on behalf of themselves and many artists. 9/21/15 Declaration of

 Robert Briggs (“Briggs Decl.”) ¶ 2; 9/21/15 Declaration of Neil Gillis (“Gillis Decl.”) ¶ 2.

        2.      At issue in this motion are 1422 works, 1398 of which are owned, co-owned

 and/or exclusively administered or by BMG and 24 of which are owned, co-owned and/or


                                                 -2-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 8 of 37 PageID# 9224



 exclusively administered by Round Hill (together the “Asserted Works”). They are listed in

 Appendices A1-A102 to the Briggs Declaration and Appendices A1-A5 to the Gillis Declaration.

 Briggs Decl. ¶¶ 5-125; Gillis Decl. ¶¶ 4-11.

        3.      All of the Asserted Works are registered with the United States Copyright Office.

 Certified copies of the copyright registrations are attached as Exhibits B1-B934 to the Briggs and

 Exhibits C1-C22 to Gillis Declarations.

        4.      For each of the Asserted Works listed in Briggs Declaration Appendices A1-A7

 and A13, BMG, in its formal corporate name or a fictitious d/b/a name, is named as a claimant

 on the certified registration certificates from the Copyright Office. Those certificates are

 attached as Exhibits B1-B137, B391, and B934 to the Briggs Declaration. Briggs Decl. ¶¶ 5-12.

        5.      For each of the Asserted Works listed in Appendices A8-A12 to the Briggs

 Declaration, Chrysalis Music Holdings, Inc., Chrysalis Music Group, Inc., or Chrysalis Music

 Publishing, LLC, in their formal corporate name or a fictitious d/b/a name, is named as a

 claimant on the certified registration certificates from the Copyright Office. Briggs Decl. ¶¶ 14-

 21. Those certificates are attached as Exhibits B138-B390 and B933 to the Briggs Declaration.

        6.      BMG merged with Chrysalis Music Group, Inc., and Chrysalis Music Holdings,

 Inc., thereby acquiring the assets of those entities, including ownership rights in the Asserted

 Works listed in Appendices A8-A12 to the Briggs Declaration. Briggs Decl. ¶¶ 14-21; Exs. 1-3.

        7.      For each of the Asserted Works listed in Appendices A14-A19 to the Briggs

 Declaration, 315 Music LLC or Cherry Lane Music Publishing Company, Inc., in their formal

 corporate name or a fictitious d/b/a name, is named as a claimant on the registration certificates

 from the Copyright Office. Briggs Decl. ¶¶ 22-29. Those certificates are attached as Exhibits

 B392-B437 and B932 to the Briggs Declaration.




                                                 -3-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 9 of 37 PageID# 9225



        8.      BMG merged with 315 Music LLC and Cherry Lane Music Publishing Company,

 Inc., thereby acquiring the assets of those entities, including ownership rights in the Asserted

 Works in Appendices A14-A19 to the Briggs Declaration. Briggs Decl. ¶¶ 22-29 & Exs. 3-6.

        9.      For each of the Asserted Works listed in Appendices A20-A33 and A36 to the

 Briggs Declaration, Bug Music Inc., Hitco Music Publishing LLC, Windswept Holdings LLC, in

 their formal corporate name or a fictitious d/b/a name, is listed as a claimant on the registration

 certificates from the Copyright Office. Briggs Decl. ¶¶ 30-40. Those certificates are attached as

 Exhibits B438-B700 and B704 to the Briggs Declaration.

        10.     BMG merged with Bug Holdings, Inc. and Bug Music Inc., thereby acquiring the

 assets of those entities, including ownership rights in the Asserted Works in Appendices A20-

 A33 and A36 to the Briggs Declaration. Briggs Decl. ¶¶ 30-40 & Exs. 7-12.

        11.     BMG acquired an ownership right in each of those Asserted Works listed in

 Appendices A35 and A37-A102 from a copyright claimant through Songwriter Purchase,

 Publishing, Co-publishing, and/or Exclusive Administration Agreements. Briggs Decl. ¶¶ 41-

 125 & Exs. 8-9, 13-105. The certified registration certificates naming the copyright claimants

 for those works are attached as Exhibits B702-B703 and B705-B931 to the Briggs Declaration.

        12.     Round Hill Music, LLC, is named as a copyright claimant on the Copyright

 Office registration certificates for the Asserted Works listed Appendix A1 to the Gillis

 Declaration. Gillis Decl. ¶ 5. Those certificates are Exhibits C1 and C2 to the Gillis Declaration.

        13.     Round Hill Music, LLC, obtained ownership rights in each of the Asserted Works

 listed in Gillis Declaration Appendices A2-A5 through an assignment from a copyright claimant

 listed on the registration certificate from the Copyright Office. Gillis Decl. ¶¶ 7-11 & Exs. RH4-

 RH7. The certified registrations for those works are Exhibits C3-C22 to the Gillis Declaration.




                                                 -4-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 10 of 37 PageID# 9226



        14.     Round Hill Music, LLC, transferred and assigned its ownership rights in the

 Asserted Works listed in Appendices A1-A5 to the Gillis Declaration to Round Hill Music

 Royalty Fund, which gave Plaintiff Round Hill Music, LP, the sole right to manage, administer

 and exploit those works. Gillis Decl. ¶ 6 & Exs. RH1-RH3.

        B.      BMG and Round Hill Seek to Reduce Theft of their Intellectual Property

        15.     BMG and Round Hill retained Rightscorp to send Cox (and other internet service

 providers) notices identifying instances in which their high-speed internet subscribers were using

 BitTorrent to infringe the Asserted Works. See 9/21/15 Declaration of Jeffrey M. Theodore

 (“Theodore Decl.”) Ex. 6 at 83:11-84:16 & Ex. 7 at 290:21-291:14.

        16.     The Rightscorp infringement notices include (1) a physical or electronic signature

 of a person authorized to act on behalf of the owner of an exclusive right that is allegedly

 infringed, (2) an identification of the copyrighted work claimed to have been infringed, (3)

 identification of the material that is claimed to be infringing or to be the subject of infringing

 activity; (4) information reasonably sufficient to permit the service provider to contact the

 complaining party, (5) a statement that the complaining party has a good faith belief that use of

 the material in the manner complained of is not authorized by the copyright owner, its agent, or

 the law, and (6) a statement that the information in the notification is accurate, and under penalty

 of perjury, that the complaining party is authorized to act on behalf of the owner of an exclusive

 right that is allegedly infringed. See Theodore Decl. Ex. 2 (Zabek Tr.) at 317:20-321:17; Ex. 5

 (Cadenhead Tr.) at 194:21-196:16; Ex. 27; Ex. 28; Ex. 36; & Ex. 37.

        C.      Cox’s Handling of Notifications of Copyright Infringement

        17.     Since 2001, Cox’s abuse department has handled copyright infringement as well

 as other forms of subscriber misconduct, such as spam, hacking, excessive bandwidth usage, and

 malware. Theodore Decl. Ex. 1 (Sikes Tr.) at 10:1-13:2, 17:3-13, 51:5-16; Ex. 11 at 4-7.


                                                  -5-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 11 of 37 PageID# 9227



        18.     Jason Zabek has been Cox’s Manager of Abuse Operations for the past five years.

 See Theodore Decl. Ex. 2 (Zabek Tr.) at 13:6-18, 29:15-30:4, 34:8-21, 43:1-6.

        19.     During this time period, Cox has used an automated abuse tracking system known

 as CATS to track and process notices of copyright infringement received from copyright owners,

 such as BMG, or their agents, such as Rightscorp (referred to as “complainants”). See Theodore

 Decl. Ex. 39 at 12-13 (1st Supp’l Response to Interrog. 4); Ex. 1 (Sikes Tr.) at 38:5-41:5.

        20.     As a result of a

                                                                                   Theodore Decl.

 Ex. 2 (Zabek Tr.) at 106:11-107:2.

        21.     If Cox deems a copyright infringement notice to be invalid under the DMCA,

                                                                                . Theodore Decl.

 Ex. 39 at 12 (1st Supp’l Response to Interrog. 4).

        22.     Cox places a




              Cox notifies the complainant that the notice

                     . See Theodore Decl. Ex. 39 at 13 (1st Supp’l Response to Interrog. 4); Ex.

 42 at 7 (Response to Interrog. 23); Ex. 2 (Zabek Tr.) at 292:7-16, 294:4-1; Ex. 1 (Sikes Tr.) at

 126:19-127:13, 130:6-131:12; Ex. 8 (Vredenburg Tr.) at 328:16-21; Ex. 26 at 1.

        23.




                            Theodore Decl. Ex. 26 at 2; Ex. 2 (Zabek Tr.) at 297:3-298:1.




                                                -6-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 12 of 37 PageID# 9228



        24.     In addition to imposing           notices from all copyright owners, Cox has

 blacklisted certain copyright owners.



                                                                                             See

 Theodore Decl. Ex. 2 at 139:18-143:14; Ex. 41 at 12-13 (3d Supp’l Response to Interrog. 5).

        25.



                                  Theodore Decl. Ex. 59; Ex. 1 (Sikes Tr.) at 191:13-16.

        26.     For some blacklisted complainants, including Rightscorp, Cox has




                                                                               See Theodore Decl.

 Ex. 41 at 12-13 (3d Supp’l Response to Interrog. 5); Ex. 2 (Zabek Tr.) at 339:4-340:22.

        27.     In March 2011, Rightscorp began sending Cox notices of copyright infringement.

 Since March 14, 2011, Cox has

                                                                                           . Thus,

 since March 14, 2011, Cox has not reviewed or taken any action in response to copyright

 infringement notices sent by Rightscorp and has done



                                                      ” Theodore Decl. Ex. 41 at 9-10 (3d Supp’l

 Response to Interrog. 3); Ex. 29 at 1-2; Ex. 4 (Beck Tr.) at 341:1-343:22.




                                                -7-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 13 of 37 PageID# 9229



        28.    In total, Cox has blacklisted or blocked over 22 million Rightscorp notices of

 infringement. 9/21/15 Declaration of Gregory Boswell (“Boswell Decl.”) ¶ 3.

        29.    Cox’s explanation for blocking copyright infringement notices from Rightscorp is

 that

                          See Theodore Decl. Ex. 26 at 1, Ex. 31 at 1; Ex. 2 (Zabek Tr.) at 314:8-

 315:5, 325:1-329:12; Ex. 5 (Cadenhead Tr.) at 28:20-29:13, 96:3-18. Cox claims these notices

 are not in the “spirit” of the DMCA. Theodore Decl. Ex. 5 at 77:5-78:5, 117:2-124:22.

        30.    Senior lead abuse engineer Joseph Sikes explained, “



                    (i.e., Rightscorp). Theodore Decl. Ex. 32 at 1; Ex. 1 (Sikes Tr.) at 14:13-14.




                          Id.; Theodore Decl. Ex. 3 (Carothers Tr.) at 7:1-8:18, 264:22-267:1.

        31.




          Theodore Decl. Ex. 8 (Vredenburg Tr.) at 328:16, 345:12-347:14; Ex. 3 (Carothers Tr.)

 at 57:17-58:18; Ex. 26 at 1; Ex. 2 (Zabek Tr.) at 130:6-131:12. Together, these categories

 account for more than 95% of infringement notices sent to Cox. SUMF 63-65.

        D.     Cox’s Graduated Response Policy

        32.    Cox’s “written abuse ticket-handling procedures” set out its “policies and

 procedures” for taking action on copyright notices




                                               -8-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 14 of 37 PageID# 9230




         Theodore Decl. Ex. 39 at 9-10; Ex. 17 at 2; Ex. 2 (Zabek Tr.) at 162:7-22.

        33.     Cox employs a multi-step, “graduated response” process for copyright

 infringement, involving an escalating series of actions based on the number of times within the

 preceding             that a subscriber has been named in copyright infringement notices

 accepted by Cox. Theodore Decl. Ex. 17 at 2, 10-13.

        34.     To calculate a subscriber’s total number of infringement notices – and thus the

 level of graduated response – Cox considers only accepted

                       For example, if Cox receives one copyright notice a month for a

 subscriber, every month,

              See Theodore Decl. Ex. 8 (Vredenburg Tr.) at 296:3-333:22 & Ex. 35. And



                                                 Theodore Decl. Ex. 17 at 2.

        35.




              Theodore Decl. Ex. 1 (Sikes Tr.) at 156:2-5; see also id. at 154:16-156:5.

        36.     Under Cox’s “graduated response” system, a subscriber’s first copyright

 infringement notice within the previous

          See Theodore Decl. Ex. 39 at 13 (1st Supp’l Response to Interrog. 4).



                                                                                         Theodore

 Decl. Ex. 17 at 10-12; see also SUMF 54-56.




                                               -9-
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 15 of 37 PageID# 9231



                                                  Theodore Decl. Ex. 2 (Zabek Tr.) at 186:21-

 187:8.

          E.     Cox’s Policy from 2010 to Fall 2012

          37.    Under Cox’s copyright infringement policy in place between first quarter 2010

 and October 2012, Cox purported to “terminate” a subscriber after that subscriber was




                See Theodore Decl. Ex. 15 at 12; Ex. 16 at 12.

          38.    Despite the label,




                                                                         Theodore Decl. Ex. 19.

          39.

                                                Theodore Decl. Exs. 23 & 52.

          40.    Cox used the word “terminate” only so that it would appear DMCA compliant.




                                                                       Theodore Decl. Ex. 21.

          41.




                                                - 10 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 16 of 37 PageID# 9232




                                               Theodore Decl. Ex. 2 (Zabek Tr.) at 221:3-224:5.

        42.




                                                                                Theodore Decl.

 Ex. 60; see also Theodore Decl. Ex. 13 at 1



        43.    Thus, Cox did not “actually terminat[e] the service” or close customer’s accounts.

 Theodore Decl. Ex. 46. Customer service representatives would

                                                                                Id.

        44.    “Termination” had a different meaning for other forms of abuse. See Theodore

 Decl. Ex. 2 (Zabek Tr.) at 207:14-210:20, 228:1-18, 233:3-234:15; Ex. 19 at 1; Ex. 20 at 2



        45.    In particular, Cox permanently terminated




 Theodore Decl. Ex. 14 at 1; see also Theodore Decl. Ex. 13.

        46.    After each reactivation from a DMCA “termination,” Cox

                                Ex. 2 (Zabek Tr.) at 201:2-14; see also id. at 221:10-222:9.

                                 Theodore Decl. Ex. 21. “The DMCA ‘counter’ restarts;

                                                                                Theodore Decl.




                                               - 11 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 17 of 37 PageID# 9233



 Ex. 18; see also Theodore Decl. Ex. 19



            47.     For example, one




            48.     Even after concluding from a “conversation with [a] customer” that he




                      Theodore Decl. Ex. 2 (Zabek Tr.) at 283:8-19; Ex. 24.

                                                                               Id.

            49.     Cox continued to reactivate subscribers even after their         DMCA

 “termination.” Theodore Decl. Ex. 22 at 1-2. Cox’s abuse manager testified that



                  Theodore Decl. Ex. 2 (Zabek Tr.) at 263:19-22.

            F.      Cox’s Policy from Fall 2012 to Present

            50.     In late 2012, Cox revised its copyright policy so that

                                                                             Theodore Decl. Ex. 23.

            51.     However, at the same time, Cox revised its policies and procedures to avoid

 terminations by eliminating any requirement of termination of repeat infringers and increasing

 the number of warning and suspension steps in its graduated response procedure. Theodore

 Decl. Ex. 17 at 10-13; see also Theodore Decl. Ex. 2 (Zabek Tr.) 180:13-184:20, 186:21-187:8.

            52.     Under Cox’s new policy, a Cox subscriber will be considered for termination

 only if,                               that subscriber has been the subject of            copyright


                                                   - 12 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 18 of 37 PageID# 9234



 infringement notices from                                             that met Cox’s requirements and

 that fell within the                                  . Theodore Decl. Ex. 17 at 10-12; Ex. 39 at

 10-13 (1st Supp’l Responses to Interrogs. 3 & 4); Ex. 42 at 7 (Response to Interrog. 23).

         53.



          Theodore Decl. Ex. 17 at 11-12; Ex. 1 (Sikes Tr.) at 69:19-70:15; Ex. 2 (Zabek Tr.) at

 175:22-178:8.

         54.     If




                             See Theodore Decl. Ex. 17 at 10-13; Ex. 4 (Beck Tr.) at 283:13-285:18,

 295:2; Ex. 1 (Sikes Tr.) at 43:15-44:15, 70:12-72:16; Ex. 2 (Zabek Tr.) at 178:10-180:11.

         55.     After the                                                    Cox imposes what its

 personnel refer to as a “hard suspension” or a “hard walled garden,” from which the subscriber

 can call Cox to have a customer representative reactivate internet service. See Theodore Decl.

 Ex. 17 at 11-12; Ex. 1 (Sikes Tr.) at 73:13-22, 79:11-80:1.

         56.     After the                                   , subscribers must call a “404 number” at

 Cox’s technical operations center in Atlanta to be reactivated. Theodore Decl. Ex. 17 at 11-12;

 Ex. 1 (Sikes Tr.) at 81:1-85:1; Ex. 8 (Vredenburg Tr.) at 133:12-36:14.

                                                           Theodore Decl. Ex. 17 at 11-12; Ex. 1 (Sikes

 Tr.) at 84:21-85:6; see also Ex. 10 at 2 & Ex. 1 (Sikes Tr.) at 30:20-31:6, 32:1-33:16, 35:13-36:8.




                                                  - 13 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 19 of 37 PageID# 9235



           57.   Even subscribers with many infringement notices often do not reach this stage.

 For example, one subscriber




           Theodore Decl. Ex. 35 at 1-2 & Ex. 8 (Vredenburg Tr.) at 296:3-333:22.



                  Theodore Decl. Ex. 55 (listing all terminated ICOMS ids); see also Ex. 51.

           58.   If an account does get to the            stage,



                 Theodore Decl. Ex. 17 at 11-12.

           59.   Even then, there is no requirement of termination. Nor do the abuse procedures

 contain                                                      specify the circumstances in which

 termination is appropriate. Theodore Decl. Ex. 17 at 11-12; Ex. 2 (Zabek Tr.) at 181:17-184:1.

           60.   Because



                               Theodore Decl. Ex. 33 at 1; Ex. 12 at 2.

           61.




                                                                          Theodore Decl. Ex. 34.

           62.




                                                 - 14 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 20 of 37 PageID# 9236



                                            Theodore Decl. Ex. 2 (Zabek Tr.) at 198:3-16; see also

 id. at 230:3-16.

         63.    Between September 2012 and November 2014, when this lawsuit was filed, Cox

 accepted             DMCA complaints into CATS and received an additional

 copyright infringement notices from

                    Theodore Decl. Ex. 41 at 12-16 (3d Supp’l Response to Interrog. 5). During

 that same period, Cox was sent another              infringement notices from Rightscorp that it

                                        along with an unknown number of                       from

 other senders. See Boswell Decl. ¶ 4; Theodore Decl. Exs. 57 & 58 at 1-2. Together, that is at

 least              otal notices of infringement sent to Cox.

         64.    During that same period, Cox issued             warnings and suspensions to

 subscribers as a result of copyright infringement notices, each of whom was the subject of a

                                                         Theodore Decl. Ex. 39 at 25-27.

         65.    Thus, Cox acted on fewer than five percent of the copyright infringement notices

 it was sent between September 2012 and November 2014. SUMF 63-64.

         66.    Cox claims to have terminated      subscribers in response to DMCA notices

 between September 2012 and November 2014 – fewer than                        a month,

                                   .1 Theodore Decl. Ex. 39 at 25-27 (1st Supp’l Response to

 Interrog. 8); Theodore Decl. Ex. 55 at 302-03.



         1




                                           Theodore Decl. Ex. 39 at 25-27.
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 21 of 37 PageID# 9237



           67.    Thus, for           instances of repeat infringement that Cox acted upon between

 September 2012 and November 2014,                                                                  .

           68.    While Cox has not produced the full abuse ticket histories for the twenty-two

 subscribers allegedly terminated,

                                   See Theodore Decl. Ex. 56 at 3566-3741.

           69.    Cox did not terminate subscribers for whom it had actual, specific knowledge of

 repeat infringement.

                                                                                Theodore Decl. Ex. 47.

           70.




                              Theodore Decl. Ex. 49; see also Exs. 22, 24, 25, 34, 43, 44, 45, 50, 51,

 53, 54.

           71.    Cox applied a substantially more stringent termination policy to other forms of

 abuse, such as excessive



                                                            Theodore Decl. Ex. 17 at 6.

                                          LEGAL STANDARD

           Summary judgment is appropriate where there is no genuine dispute of material fact so

 that the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. An issue of fact is

 genuine only if there is sufficient evidence for a reasonable jury to find for the nonmoving party.

 See Anderson v. Liberty Lobby, 477 U.S. 242, 248-49, 252 (1986) (“mere existence of a scintilla

 of evidence . . . insufficient”). At the summary judgment stage, the evidence must be viewed in

 the light most favorable to the nonmoving party. Id. at 255.


                                                   - 16 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 22 of 37 PageID# 9238



                                            ARGUMENT

 I.     PLAINTIFFS OWN THE COPYRIGHTS AT ISSUE

        Plaintiffs have standing to sue on the works at issue because they own the copyrights

 either as original copyright holders or as transferees of exclusive rights protected by the

 copyrights. See 17 U.S.C. § 201. The “owner of an exclusive right under a copyright is entitled

 . . . to institute an action for any infringement of that particular right committed while he or she is

 the owner of it.” 17 U.S.C. § 501(b); see also X-It Products v. Kidde Portable Equipment, 155

 F. Supp. 2d 577, 603 (E.D. Va. 2001) (The “copyright owner, or the owner of exclusive rights

 under the copyright . . . has standing to bring an action for infringement of those rights.”).

        BMG or its predecessors are listed on the copyright registrations for 1,034 of the 1,422

 works at issue in this motion. SUMF 4-10. Those registrations are sufficient to establish

 plaintiffs’ ownership of the copyrighted works. For the remaining 388 works, on which BMG

 and Round Hill were not the original copyright registrants, plaintiffs have submitted the original

 copyright registrations and written agreements that reflect the transfer of ownership to BMG and

 Round Hill. SUMF 11-14. Moreover, as a third-party to the copyrights, Cox lacks standing to

 challenge plaintiffs’ ownership or the adequacy of the agreements to transfer title.

        A.      Copyright Registrations Naming BMG or its Predecessors as Claimants
                Establish Ownership of the Copyrighted Works

        Copyright registrations are “prima facie evidence” of “the facts stated in the certificate.”

 17 U.S.C. § 410(c). That includes ownership. See Universal Furniture International v.

 Collozione Europa USA, 618 F.3d 417, 428 (4th Cir. 2010) (“A certificate of registration issued

 by the Copyright Office is ‘prima evidence of the validity of the copyright and of the facts stated

 in the certificate’ such as ownership.”); MOB Music Publishing. v. Zanzibar on the Waterfront,

 698 F. Supp. 2d 197, 202 (D.D.C. 2010) (copyright registrations constitute prima facie proof of a



                                                 - 17 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 23 of 37 PageID# 9239



 valid copyright). Thus, certificates of ownership stand as “uncontradicted evidence that Plaintiff

 owns the copyright” where the defendant offers no evidence of its own. Thomas v. Artino, 723

 F. Supp. 2d 822, 830 (D. Md. 2010).

        Here, BMG is listed on the copyright certificates attached as Exhibits B1-B137, B391

 and B934 to the Briggs Declaration. Those copyright certificates correspond to the works listed

 on Appendices A1-A7 and A13. SUMF 4. Predecessors of BMG are listed on the certificates

 attached as Exhibits B138-B390, B392- B700, B704, and B932-B933 to the Briggs Declaration,

 which correspond to the works listed on Appendices A8-A12, A14-33, and A36. SUMF 5-10.2

 Because the “Copyright Act expressly provides that a copyright registration certificate . . .

 constitutes prima facie evidence of ownership of a valid copyright,” this establishes BMG’s

 ownership of the works Appendices A1-A33 and A36. X-It Products, 155 F. Supp. 2d at 609.

        B.      Plaintiffs’ Evidence of Chain of Title from a Copyright Claimaint Establishes
                Ownership as a Matter of Law

        BMG and Round Hill obtained exclusive rights in the remaining works at issue by

 purchasing or otherwise acquiring copyrights or portions of the copyrights from third parties.

 “The ownership of a copyright may be transferred in whole or in part by any means of

 conveyance or by operation of law” and “[a]ny of the exclusive rights comprised in a copyright,

 including any subdivision of any of the rights specified by section 106, may be transferred . . .

 and owned separately.” 17 U.S.C. § 201(d). Transfer of ownership may occur via “an

 assignment, mortgage, exclusive license, or any other conveyance, alienation, or hypothecation

 of a copyright or of any of the exclusive rights comprised in a copyright, whether or not it is


        2
           The merger and acquisition agreements reflecting the predecessor-successor
 relationships are Exhibits 1-12 to the Briggs Declaration. SUMF 5-10. Moreover, “mergers
 transfer copyrights ‘by operation of law’ and obviate the writing requirement.” Universal
 Furniture, 618 F. 3d at 429 (citations omitted).



                                                - 18 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 24 of 37 PageID# 9240



 limited in time or place of effect, but not including a nonexclusive license.” 17 U.S.C. § 101.

 Once any of the exclusive rights have been transferred, “[t]he owner of any particular exclusive

 right is entitled, to the extent of that right, to all of the protection and remedies accorded to the

 copyright owner by this title.” 17 U.S.C. § 201(d).

         As described in the Briggs and Gillis declarations, Round Hill and BMG have entered

 into written agreements by which they acquired exclusive rights in each of the remaining

 copyrights. SUMF 11-14. The Briggs and Gillis Declarations attach the copyright registrations

 for each of the works listed in Briggs Appendices A35, 37-A102 and Gillis Appendices A1-A5,

 along with agreements showing the chain of title from the party listed on the copyright

 registration to plaintiffs. Id. “If a plaintiff possesses a copyright registration certificate, ‘the

 only evidence required of the plaintiff to establish prima facie ownership . . . is evidence of

 plaintiff’s chain of title from the original copyright registrant.’” Montgomery County

 Association of Realtors v. Realty Photo Master, 878 F. Supp. 804, 809-10 (D. Md. 1995)

 (quoting 3 Nimmer on Copyright § 13.01[A] (1993)).

         Here, plaintiffs obtained title to the works at issue through three different types of

 agreements. First, plaintiffs entered into asset purchase agreements, often known as Songwriter

 and/or Copyright Purchase Agreements, which demonstrate the transfer of ownership to BMG

 and Round Hill (or a predecessor-in-interest). Second, plaintiffs or their predecessors entered

 into Publishing and Co-Publishing Agreements, which explicitly convey in writing either one

 hundred percent (100%) or some smaller percentage of the entire copyright in the subject

 musical compositions. Finally, BMG and Round Hill entered into Exclusive Administration

 Agreements, which convey rights contemplated in 17 U.S.C. § 106, including the exclusive and

 sole right to administer, commercially exploit, and to sue for infringement of copyright in the




                                                  - 19 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 25 of 37 PageID# 9241



 works at issue. See 17 U.S.C. § 106; 17 U.S.C. § 201(d)(2) (“Any of the exclusive rights

 comprised in a copyright, including any subdivision of any of the rights specified by section 106,

 may be transferred . . . and owned separately. The owner of any particular exclusive right is

 entitled . . . to all of the protection and remedies accorded to the copyright owner by this title.”).

        Each of these forms of agreement is a valid way to transfer exclusive rights in

 copyrighted works. See Warner/Chappell Music, Inc. v. Blue Moon Ventures, 2011 WL 662691

 at *1-*6 (M.D. Tenn. Feb. 14, 2011). Declaration testimony attaching the transfer agreements

 and explaining how the agreements relate to the works at issue establishes ownership for

 purposes of summary judgment. See Arista Records v. Lime Group, No. 06 CV 5936, 2011 WL

 1641978, at *4-5 (S.D.N.Y. Apr. 29, 2011); Tacori Enterprises v. Rego Manufacturing, No.

 1:05CV2241, 2008 WL 4426343, at *11 (N.D. Ohio Sept. 25, 2008); cf. SCO Group v. Novell,

 578 F. 3d 1201, 1211-13 (2d Cir. 2009).

        Plaintiffs’ evidence of chain of title from the copyright registrants entitles them to

 summary judgment in the absence of contrary evidence of ownership. “Once the plaintiff has

 established his ownership prima facie, the burden then shifts to the defendant to counter this

 evidence.” 4 Nimmer on Copyright § 13.01[A] (2015). Here, there is no contrary evidence.

        C.      Cox Lacks Standing to Contest Ownership

        In any event, as a third party to the copyright transfers, Cox cannot challenge Plaintiffs’

 ownership of the works at issue. “[A]n alleged third-party infringer” “lacks standing . . . to

 challenge the validity of [an] assignment . . . in an attempt to avoid liability.” Tacori

 Enterprises, 2008 WL 4426343, at *10. Because the laws governing assignment of copyrights

 are “designed to resolve disputes among copyright owners and transferees,” a defendant who is

 not a party to the ownership transfer “simply does not hav[e] standing.” Billy-Bob Teeth v.

 Novelty, 329 F.3d 586, 592 (7th Cir. 2003).


                                                 - 20 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 26 of 37 PageID# 9242



        Here, Cox is not a party to any of the assignments at issue, none of which are disputed by

 BMG and Round Hill’s counter-parties. “[W]hen there is no dispute between the original

 copyright owner and his licensee or assignee, ‘it would be anomalous to permit a third-party

 infringer’” to challenge ownership. X-It Products, 155 F. Supp. 2d at 604 (quoting Eden Toys v.

 Florelee Undergarment Co., 697 F.2d 27, 36 (2d Cir.1982)); see also Billy-Bob Teeth, 329 F.3d

 at 592-93 (“[W]here there is no dispute between the copyright owner and the transferee about the

 status of the copyright, ‘it would be unusual and unwarranted to permit a third-party infringer to

 invoke section 204(a) to avoid suit for copyright infringement.’”); Capital Concepts v. The

 Mountain Corp., No. 3:11-cv-0036, 2012 U.S. Dist. LEXIS 182874, *24-27 (W.D. Va. Dec. 30,

 2012). Accordingly, Cox lacks standing to challenge ownership of the works at issue, and

 summary judgment should be entered in favor of BMG and Round Hill.

 II.    COX IS NOT ENTITLED TO “SAFE HARBOR” PROTECTION UNDER THE
        DMCA

        The DMCA provides service providers such as Cox a safe harbor defense to claims of

 copyright infringement only if they adopt, implement, and publicize a policy for the termination

 of repeat infringers in appropriate circumstances. To obtain safe harbor protection under the

 DMCA, an internet service provider must:

        ha[ve] adopted and reasonably implemented, and inform[] subscribers and
        account holders of the service provider’s system or network of, a policy that
        provides for the termination in appropriate circumstances of subscribers and
        account holders of the service provider’s system or network who are repeat
        infringers.

 17 U.S.C. § 512(i)(1)(A). This is a “threshold condition[]” “[t]o be eligible for any of the four

 safe harbors” in the DMCA. Perfect 10 v. CCBill, 488 F.3d 1102, 1109 (9th Cir. 2007).

        The purpose of Section 512(i) is to ensure that “those who repeatedly or flagrantly abuse

 their access to the Internet through disrespect for the intellectual property rights of others should



                                                 - 21 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 27 of 37 PageID# 9243



 know that there is a realistic threat of losing that access.” H.R. Rep. 105-551(II), at 61; S. Rep.

 105-190, at 62 (emphasis added). Thus, an internet service provider must maintain a “a working

 notification system” through which copyright owners may provide notice of infringement, must

 “deal[] with DMCA-compliant notifications,” and must “terminate[] users who repeatedly or

 blatantly infringe copyright” in “appropriate circumstances.” CCBill, 488 F.3d at 1109-10. It is

 Cox’s burden to demonstrate that it falls within a DMCA safe harbor. See Columbia Picture

 Industries v. Fung, 710 F.3d 1020, 1040 (2d Cir. 2013).

         Cox does not qualify for a safe harbor because, at least since 2010, it has never had nor

 implemented a policy to terminate repeat infringers in appropriate circumstances. Instead, Cox

 has created a notification system designed to limit the circumstances in which Cox will learn of

 infringement on its system. Cox has                               more than 95% of the millions

 of infringement notices sent to it by copyright holders without taking any action. SUMF 19-31.

         Where Cox does accept notices of infringement, Cox’s policy and practice has been not

 to terminate subscribers who its abuse management personnel know – and acknowledge – to be

 flagrant, repeat infringers. Through September 2012, Cox did not actually terminate any repeat

 infringers. To give the appearance of complying with the DMCA, Cox purported to “terminate”

 repeat infringers but, rather than actually terminate them,

                     SUMF 37-49. Starting in October 2012, Cox changed its policy so that



                                                                               Between the Fall of

 2012 and the filing of this litigation,



                              Its abuse management team repeatedly allowed known, repeat




                                                - 22 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 28 of 37 PageID# 9244



 infringers to continue to use Cox’s network. SUMF 50-70. No reasonable jury could conclude

 that Cox has established and implemented a policy that ensures its subscriber are subject to a

 “realistic threat” of losing internet access as a result of repeat copyright infringement.

          A.     Cox Cannot Take Advantage of the DMCA Safe Harbor Because It Refuses
                 to Accept or Act on Notifications of Copyright Infringement

          At the threshold, Cox’s large-scale refusal to accept notices of copyright infringement

 does not satisfy the DMCA’s safe harbor requirement. “[A]llow[ing] notices of potential

 copyright infringement to fall into a vacuum and to go unheeded” means “that [an ISP] had not

 reasonably implemented its policy against repeat infringers.” Ellison v. Robertson, 357 F.3d

 1072, 1080 (9th Cir. 2004). That is exactly what Cox has done.

          Cox has implemented several policies to ensure that the vast majority of copyright

 infringement notices fall into a vacuum and go unheeded. First, Cox

                                                          , whether or not they comply with the

 DMCA. SUMF 24-30. That includes all 22 million notices sent by Rightscorp, which Cox

 concedes identify an infringed work, infringing material, and the Cox-assigned IP address of the

 infringer. SUMF 16, 27-28. While Cox claims that settlement offers do not comply with the

 “spirit” of the DMCA, its counsel was unable to point to any language in the DMCA allowing

 Cox to

                Theodore Decl. Ex. 5 (Cadenhead Tr.) at 118:4-124:20. These notices literally

 “fall into a vacuum,” Ellison, 357 F.3d at 1080, and Cox makes no “effort to record” those

 instances of infringement, to “design its system” to determine the “identity of the users

 responsible for those files,” or to establish a “vehicle to receive notices of potential

 infringement” from blocked senders. Disney Enterprises v. Hotfile Corp., No. 11-20427-CIV,

 2013 WL 6336286, at *21 (S.D. Fla. Sept. 20, 2013); see also SUMF 26-27.



                                                 - 23 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 29 of 37 PageID# 9245



        Even for notices Cox deems DMCA-complaint, Cox limits each copyright holder to

                                                  though Cox has 4.5 million subscribers and

 receives millions of notice a year. SUMF 22; Theodore Decl. Ex. 61.

                               , and Cox takes no action based on those notices. SUMF 22, 31.

 Cox does not count these notices against subscribers in its graduated response policy nor

 consider them toward suspension and termination. SUMF 21-34. In other words, these notices

 “go unheeded.” Ellison, 357 F.3d at 1080. Asked,

                                                                              SUMF 23.

        In all, Cox has taken no action on more than 95% of the copyright notices that it has been

 sent by copyright owners. SUMF 31, 63-65. Cox’s own expert admitted that



                                                                                         See

 Theodore Decl. Ex. 9 (Rosenblatt Tr.) at 14:2-8. Here, Cox does exactly that for an enormous

 swathe of copyright notices, including all of the ones reflecting claims of infringement in this

 litigation. The “deliberate disregard” reflected in Cox’s “practice to ignore [Rightscorp’s

 infringement notices] rather than act to terminate the users they were associated with” deprives it

 of protection under the DMCA. Disney Enterprises, 2013 WL 6336286, at *21.

        Cox’s policy and practice of ignoring 95% of copyright notices is the result of a

 deliberate effort to reduce the volume of copyright notices it receives and must act on. Cox

 receives millions of notices of copyright infringement. SUMF 63. Rather than potentially

 terminate large numbers of subscribers,

                             SUMF 20. That refusal to act on valid notices of copyright




                                                - 24 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 30 of 37 PageID# 9246



 infringement leaves Cox “unable to carry out any sort of reasonable policy” to identify and

 terminate repeat infringers under the DMCA. Disney Enterprises, 2013 WL 6336286, at *21.

        B.      Cox Cannot Take Advantage of the DMCA Safe Harbor Because its Policy
                and Practice Is Not to Terminate Repeat Infringers

        Even for the subset of copyright infringement notices that Cox does accept, Cox does not

 comply with Section 512(i) because it has established and implemented a policy of not

 terminating repeat infringers. See 17 U.S.C. § 512(i)(1)(A) (service provider must “adopt[] and

 reasonably implement[]” a policy of “terminat[ing] . . . repeat infringers” in “appropriate

 circumstances”). For over two years, Cox pretended to “terminate” copyright infringers but

 actually retained those “terminated” subscribers and continued to sell them internet service.

 Eventually Cox re-considered that approach and replaced it with policies designed and

 implemented to avoid terminating repeat infringers at all. Neither is adequate under the DMCA.

                1.      Cox “Terminations” Were Not “For Real” Until the Fall of 2012

        From 2010 into the Autumn of 2012, Cox’s abuse department – with the concurrence of

 Cox’s legal team – established a policy of purporting to terminate repeat infringers but in fact



 SUMF 38. Cox’s abuse manager, Jason Zabek, explained that

                                 Id. As a rule, customers “terminated” for copyright infringement

 were                                Zabek put it succinctly:                         Id.



                 SUMF 42.



                                                                        SUMF 42; see also

 Theodore Decl. Ex. 13



                                                - 25 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 31 of 37 PageID# 9247



                                                                     “Terminated” customers were



              SUMF 42-43.

                                                                   SUMF 46-49.

        Cox personnel were remarkably straightforward about this policy:



                                                         SUMF 40.




        On the contrary, Cox’s fake terminations do not comply with Section 512(i). See Capitol

 Records v. Escape Media Group, No. 12-CV-6646 AJN, 2015 WL 1402049, at *11 (S.D.N.Y.

 Mar. 25, 2015) (“The Court is not aware of any authority for the proposition that something short

 of complete termination of a repeat infringer’s account satisfies § 512(i). Rather, the case law

 indicates just the opposite.”). Even Cox’s expert conceded that

                                                                                      and that at a

 minimum                                                           Theodore Decl. Ex. 9

 (Rosenblatt Tr.) at 31:10-32:10, 37:13-22, 39:19-22. As a result, there can be no genuine dispute

 that until the Fall of 2012, Cox did not adopt or implement a policy to terminate repeat infringers

 within the meaning of Section 512(i).

                2.     Cox Has Not Established or Implemented a Policy to Terminate
                       Repeat Infringers in Appropriate Circumstances Since Fall 2012

        The same is true under the revised copyright abuse policy Cox issue in October 2012.

 The new policy put a halt to the fake “terminations”:



                                                - 26 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 32 of 37 PageID# 9248



                                                         SUMF 50. However, it also brought Cox’s

 DMCA terminations to an effective halt.




                                       SUMF 66. During the latter period, Cox received

 DMCA complaints and issued more than                           to its subscribers.3 SUMF 63-64.

        Cox’s new policy makes it almost impossible for a repeat infringer to be terminated for

 copyright violations. See In re Aimster Copyright Litigation, 252 F. Supp. 2d 634, 659 (N.D. Ill.

 2002) (“Adopting a repeat infringer policy and then purposely eviscerating any hope that such a

 policy could ever be carried out is not an ‘implementation’ as required by § 512(i).”), aff’d, 334

 F.3d 643 (7th Cir. 2003). The policy provides that a subscriber is to be “considered” for

 termination only after accumulating           infringement notices within a

 SUMF 51-59. Accumulating so many notices is itself almost impossible because the

 strikes do not include

                                                         – categories that account for more than 95%

 of all notices sent to Cox. SUMF 57, 63-65; see also Theodore Decl. Ex. 51. Nor does the

 revised policy contain any standards to govern termination of the rare subscriber who does reach

 the “consideration” stage. SUMF 59. On the contrary Cox’s practice is to work with each

 subscriber

                                SUMF 60.

        As a result, Cox claims to have terminated at most an infinitesimal percentage of known

 repeat infringers. From September 2012 to November 2014, Cox received at least


        3
            Cox terminated                                                           . SUMF 66.



                                                - 27 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 33 of 37 PageID# 9249



 DMCA complaints and sent out              warnings and suspensions to subscribers. SUMF 63-64.

 Though each of those            actions represents a customer’s second (or greater) valid DMCA

 notice within            , Cox claims to have terminated only       subscribers in response to

 DMCA complaints. SUMF 66-67. That is not “appropriate” under the DMCA. See Disney

 Enterprises, 2013 WL 6336286, at *22 (“despite receiving over eight million notices for five

 million users, Hotfile only terminated 43 users before the commencement of this action, for

 reasons that had no apparent relation to the notices Hotfile received”).

        Not only is responding to                                                        inadequate

 under the DMCA, but Cox has not produced evidence that it terminated anyone for repeat

 copyright infringement during this time. See Rosen v. Global Net Access, No. CV 10-2721, 2014

 WL 2803752, at *4 (C.D. Cal. June 20, 2014) (burden on the party claiming DMCA safe harbor

 to present evidence of adequate response to infringement notifications). While Cox’s

 interrogatory responses claim              terminations “in response to a DMCA notice(s)” in the

 twenty-five months between September 2012 and November 2014, Cox has not identified or

 provided ticket histories for the terminations at issue, much less produced evidence that DMCA

 notices were the actual reason for any termination. SUMF 68. Cox did produce a 4,000 page log

 listing each interaction with Cox subscribers purportedly “terminated” in response to DMCA

 notices (though it refused to provide the full ticket history for those subscribers). But the log

 indicates that many of the

                                  SUMF 68.

        Internal emails within Cox’s abuse department confirm t                               were an

 important element of decisions to terminate repeat infringers. Theodore Decl. Ex. 48 (

                                                                As the senior lead abuse engineer




                                                 - 28 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 34 of 37 PageID# 9250



 explained in a chat with another abuse engineer, “

                                                         of the decision to terminate in the DMCA

 context. SUMF 45. In contrast to repeat copyright infringement, excessive usage is subject to a



                      .” SUMF 71. Thus, it appears that repeat infringers were terminated

 extremely rare circumstances, usually involving some other form of abuse. That is not a

 reasonable implementation of a repeat infringer termination policy.

        C.      Cox Cannot Take Advantage of the DMCA Safe Harbor Because it Has
                Failed to Terminate Known, Flagrant Repeat Copyright Infringers

        Cox’s failure to establish and reasonably implement an appropriate termination policy is

 reflected in its failure to terminate subscribers as to whom its abuse engineers and manager had

 specific knowledge of flagrant, sustained copyright infringement. Because Cox does not

 terminate known, blatant repeat infringers, a jury cannot conclude that Cox reasonably

 implemented a policy to terminate repeat infringers. See Perfect 10 v. Cybernet Ventures, 213 F.

 Supp. 2d 1146, 1177 (C.D. Cal. 2002) (“These circumstances would appear to cover, at a

 minimum, instances where a service provider is given sufficient evidence to create actual

 knowledge of blatant, repeat infringement by particular users . . . .”); CCBill, 488 F.3d at 1109-

 10 (reasonable implementation requires the service provider to “terminate[] users who repeatedly

 or blatantly infringe copyright”).




        SUMF 48. Nonetheless, he was

             Id. This lack of concern for the DMCA is at odds with Congress’s purpose to

 “create ‘strong incentives for service providers and copyright owners to cooperate to detect and



                                                - 29 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 35 of 37 PageID# 9251



 deal with copyright infringements that take place in the digital networked environment.’” In re

 Charter Communications, 393 F. 3d 771, 782 (8th Cir. 2005) (quoting S. Rep. 105-190, at 40).

        In another email exchange,



 Theodore Decl. Ex. 45.



                                                              Id.




                                                             Id. Cox has produced no evidence that

 he was ever terminated.

        This undisputed evidence of Cox’s failure to terminate known, repeat infringers in order

 to preserve the revenue streams associated with their accounts opens it to liability for

 contributory and vicarious infringement. The DMCA safe harbors protect only “‘innocent’

 service providers who can prove they do not have actual or constructive knowledge of []

 infringement” on their systems. ALS Scan v. RemarQ Communities, 239 F.3d 619, 625 (4th Cir.

 2001). Cox does not qualify.

                                          CONCLUSION

        For the foregoing reasons, partial summary judgment should be entered in favor of

 plaintiffs that they own and have standing to sue on the works at issue and that Cox has no “safe

 harbor” defense under the DMCA.




                                                - 30 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 36 of 37 PageID# 9252




                                     Respectfully submitted,

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                                      - 31 -
Case 1:14-cv-01611-LO-JFA Document 324 Filed 09/21/15 Page 37 of 37 PageID# 9253



                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 21, 2015, I electronically filed a true and correct copy
 of the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
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                                                - 32 -
